             Case 1:19-cr-00725-JPO Document 157 Filed 12/23/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


               v.
                                                                              No. 19 CR 725 (JPO)
LEV PARNAS,
IGOR FRUMAN, and
ANDREY KUKUSHKIN,

                              Defendants.




NOTICE OF DEFENDANT IGOR FRUMAN’S MOTION TO SEVER AND DEFENDANTS
IGOR FRUMAN, LEV PARNAS, AND ANDREY KUKUSHKIN’S JOINT MOTION FOR
RELIEF FROM THE GOVERNMENT’S VIOLATION OF ATTORNEY-CLIENT PRIVILEGE

         PLEASE TAKE NOTICE that upon the accompanying memorandum of law, dated December 1,

2020, Defendant Igor Fruman, moves this Court, before the Honorable J. Paul Oetken, for an Order,

pursuant to Federal Rules of Criminal Procedure 8(b) and 14, severing his trial from that of his co-

defendant, Lev Parnas, or in the alternative, severing the trial of Count Seven from the trial of Counts

One through Six of the Superseding Indictment.

         PLEASE TAKE FURTHER NOTICE that Defendant Igor Fruman joined by co-defendants Lev

Parnas, and Andrey Kukushkin move this Court for an Order dismissing the indictment or suppressing

electronic evidence subject to the attorney-client privilege and unlawfully seized, and all evidence

obtained or derived therefrom, or in the alternative, a pretrial suppression hearing, and any such further

relief as the Court deems necessary, just and proper.



Dated:       December 1, 2020
             New York, New York
Case 1:19-cr-00725-JPO Document 157 Filed 12/23/20 Page 2 of 2




                          Respectfully submitted,

                          CADWALADER, WICKERSHAM & TAFT LLP


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